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                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK

 JOEL RICH AND MARY RICH,

                 Plaintiff,

                 v.                                     Civil Action No. 18-cv-02223 (GBD)
 FOX NEWS NETWORK, LLC, MALIA                              MOTION FOR ADMISSION PRO
 ZIMMERMAN, AND ED BUTOWSKY,                               HAC VICE OF KATHERINE
                                                           MORAN MEEKS
                 Defendants.


       Pursuant to Rule 1.3(c) of the Local Civil Rules of the United States Courts for the Southern

and Eastern Districts of New York, I, Katherine Moran Meeks, hereby move this Court for an

order for admission to practice pro hac vice to appear as counsel for defendant Fox News Network,

LLC in the above-captioned case.

       I am a member in good standing of the bars of Virginia and the District of Columbia, and

there are no pending disciplinary proceedings against me in any state or federal court. I have never

been convicted of a felony. I have never been censured, suspended, disbarred, or denied admission

or readmission by any court. I have attached the affidavit pursuant to Local Rule 1.3.

Date: November 27, 2019                              Respectfully submitted,

                                                     /s/ Katherine Moran Meeks
                                                     Katherine Moran Meeks
                                                     WILLIAMS & CONNOLLY LLP
                                                     725 Twelfth Street, N.W.
                                                     Washington, D.C. 20005

                                                     650 Fifth Avenue, Suite 1500
                                                     New York, NY 10019

                                                     Tel.: (202) 434-5870
                                                     Fax: (202) 434-5029
                                                     kmeeks@wc.com
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                                CERTIFICATE OF SERVICE

       I hereby certify that on November 27, 2019, I electronically filed the foregoing Motion

for Pro Hac Vice Admission of Katherine Moran Meeks with the Clerk of the Court using the

CM/ECF system, which will send notification of such filing to all counsel of record in this matter

who are on the CM/ECF system.


                                                    s/ Katherine Moran Meeks
                                                    Katherine Moran Meeks




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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK

 JOEL RICH AND MARY RICH,

                Plaintiff,

                V.                                     Civil Action No. 18-cv-02223 (GBD)
 FOX NEWS NETWORK, LLC, MALIA
 ZIMMERMAN, AND ED BUTOWSKY,

                Defendants.




                     AFFIDAVIT OF KATHERINE MORAN MEEKS
                 IN SUPPORT OF MOTION TO APPEAR PRO HAC VICE

       I, Katherine Moran Meeks, being first duly cautioned, swear or affirm as follows:

       1.      I am an associate at Williams & Connolly LLP, 725 Twelfth Street, N.W.,

Washington, DC 20005.

       2.      I submit this affidavit in support of my motion for admission to practice pro hac

vice in the above captioned matter.

       3.      I was licensed to practice law in Virginia on October 16, 2014 (Bar No. 87812)

and was admitted to the Supreme Court of Virginia on December 3, 2014. I am a member in

good standing of the Virginia State Bar.

       4.      I was admitted to practice law in the District of Columbia on September 11, 2015

(Bar No. 1028302). I am a member in good standing of the District of Columbia Bar.

       5.      I have never been convicted of a felony.

       6.      I have never been censured, suspended, disbarred, or denied admission or

readmission by any court.
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       7.     There are no disciplinary proceedings presently against me.




                                                      Kitherine Moran Meeks




Sworn to before me and subscribed in my presence.
November 26, 2019




                            PATRICIA 0. LEWIS
                    NOTARY PUBLIC DISTRICT OF COLUMBlfl
                       My Commission Exl)ires June 14, 2022




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  On behalf of JULIO A. CASTILLO, Clerk of the District of Columbia Court of Appeals,
                   the District of Columbia Bar does hereby certify that



                 Katherine Moran Meeks
      was duly qualified and admitted on September 11, 2015 as an attorney and counselor entitled to
        practice before this Court; and is, on the date indicated below, an Active member in good
                                             standing of this Bar.




                                                                           In Testimony Whereof,
                                                                       I have hereunto subscribed my
                                                                       name and affixed the seal of this
                                                                            Court at the City of
                                                                            Washington, D.C., on
                                                                             November 22, 2019.




                                                                             JULIO A. CASTILLO
                                                                               Clerk of the Court




                                                                   Issued By:
                                                                            District of Columbia Bar Membership




For questions or concerns, please contact the D.C. Bar Membership Office at 202-626-3475 or email
                                    memberservices@dcbar.org.
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                           VIRGINIA STATE BAR

                   CERTIFICATE OF GOOD STANDING

      THIS IS TO CERTIFY THAT KATHEm^EMMNmEmKS IS AN ACTIVE MEMBER OF THE VIRGINIA

STATE BAR IN GOOD STANDING. MRSzMEEKS WAS LICENSED TO PRACTICE LAW IN VIRGINIA ON

OCTOBER 16, 2014,                                                                                  OF


BAR EXAMINERS.

Issued November 21, 2019




                                                                         KAREN A. GOULD
                                                                         EXECUTIVE DIRECTOR AND
                                                                       : CHIEF OPERATING OFFICER
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                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK

 JOEL RICH AND MARY RICH,

                 Plaintiff,

                 v.                                     Civil Action No. 18-cv-02223 (GBD)
 FOX NEWS NETWORK, LLC, MALIA                              ORDER FOR ADMISSION OF
 ZIMMERMAN, AND ED BUTOWSKY,                               KATHERINE MORAN MEEKS
                                                           PRO HAC VICE
                 Defendants.


       The motion of Katherine Moran Meeks for admission to practice pro hac vice in the

above-captioned action is granted.

       Applicant has declared that she is a member in good standing of the bars of Virginia and

the District of Columbia, and that her contact information is as follows:

       Katherine Moran Meeks
       Williams & Connolly LLP
       725 Twelfth Street, N.W.
       Washington, D.C. 20005
       Tel: (202) 434-5000
       Fax: (202) 434-5029
       kmeeks@wc.com

       Applicant having requested admission pro hac vice to appear for all purposes as counsel

for defendant Fox News Network, LLC in the above-entitled action;

       IT IS HEREBY ORDERED that Applicant is admitted pro hac vice in the above

captioned case in the United States District Court for the Southern District of New York. All

attorneys appearing before this Court are subject to the Local Rules of this Court, including the

Rules governing discipline of attorneys.


Dated: __________________                            ___________________________________
                                                     HONORABLE GEORGE B. DANIELS
                                                     UNITED STATES DISTRICT JUDGE
